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14                                 UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA
16                                        OAKLAND DIVISION

17   CELLWITCH INC.,                                Case No. 4:19-CV-01315-JSW
18                   Plaintiff,
                                                    DEFENDANT TILE, INC.’S NOTICE OF
19           v.                                     MOTION AND MOTION FOR
                                                    RECONSIDERATION OF THE COURT’S
20   TILE, INC.,                                    NOV. 21, 2019 ORDER DENYING
                                                    DEFENDANT’S MOTION TO DISMISS
21                   Defendant.                     (Dkt. 57) AND REQUEST FOR JUDICIAL
                                                    NOTICE
22
                                                    Date: September 23, 2022
23                                                  Time: 9:00 a.m.
                                                    Courtroom: 5
24                                                  Judge: Jeffrey S. White
25

26

27

28

     DEFENDANT TILE, INC.’S MOTION FOR
     RECONSIDERATION                                               CASE NO. 4:19-CV-01315-JSW
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 1                                 NOTICE OF MOTION AND MOTION
 2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3            PLEASE TAKE NOTICE that, pursuant to Civil L.R. 7-9, the Court’s Order Granting
 4   Defendant Tile, Inc.’s Motion for Leave to File a Motion for Reconsideration of the Court’s Nov.
 5   21, 2019 Order Denying Defendant’s Motion to Dismiss (Dkt. 57) and Request for Judicial Notice
 6   (Dkt. 111), and Rules1 12(b)(6), 12(c), and 54(b), Defendant Tile, Inc. (“Tile”) moves the Court for
 7   reconsideration of the Court’s January 21, 2019 Order Denying Defendant’s Motion to Dismiss
 8   (Dkt. 57). This motion is based on this Notice of Motion, the attached memorandum of points and
 9   authorities in support thereof, the pleadings and documents on file in this case, and such other
10   evidence and argument as may be presented at any hearing on this motion.
11            In deciding this motion, Tile respectfully requests that the Court take judicial notice of the
12   PTAB’s Final Written Decision (Dkt. 103-2), the Federal Circuit’s Judgment and Mandate (Dkt.
13   103-3 and -4), and the list of documents that currently comprise the prosecution history of Plaintiff’s
14   asserted patent, U.S. Patent No. 8,872,655 (Dkt. 103-5).
15                               STATEMENT OF RELIEF REQUESTED
16            Tile respectfully requests that the Court reconsider its November 21, 2019 Order Denying
17   Defendant’s Motion to Dismiss (Dkt. 57) and grant Tile’s motion to dismiss Plaintiff’s Amended
18   Complaint pursuant to Rule 12(b)(6) or 12(c) with prejudice.
19                         MEMORANDUM OF POINTS AND AUTHORITIES
20   I.       INTRODUCTION
21            The single fact issue that prevented the Court from finding the asserted patent claims
22   ineligible has been resolved against Plaintiff. In Tile’s original Rule 12 motion, the Court already
23   concluded that Plaintiff’s asserted patent claims are directed to an abstract idea under Alice2 step
24   one. Dkt. 57 at 4:21–9:22. Despite that finding, the Court concluded that it “must accept” Plaintiff’s
25   factual allegation that the independent claims’ use of “a network of personal wireless
26   communication terminals to monitor and notify a particular user to when an item was no longer
27
     1
       All references to “Rules” are to the Federal Rules of Civil Procedure, unless otherwise noted.
28
     2
       Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208 (2014).
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 1   within a set range of the user”—herein after referred to as the “Buddy Limitation”3—“imparted
 2   patentability over the existing prior art” (Dkt. 38 at 15:4–5) and was therefore inventive under Alice
 3   step two. Dkt. 57 at 11:18–12:7. The Federal Circuit, however, has recently affirmed a finding by
 4   the Patent Trial and Appeal Board (“PTAB”) that the Buddy Limitation was obvious in view of the
 5   prior art. See Dkt. 103-2 at 37–49; Dkt. 103-3; Dkt. 103-4. This finding both (1) bars Plaintiff’s
 6   allegation that the Buddy Limitation was inventive under issue preclusion and (2) renders this
 7   allegation implausible, conclusory, and legally erroneous. In either case, Plaintiff’s Amended
 8   Complaint should be dismissed pursuant to Rule 12(b)(6). And, because any further amendment
 9   would be futile, Plaintiff’s Amended Complaint should be dismissed with prejudice.
10           Plaintiff has thus far raised two counterarguments to the present motion. Both of these
11   arguments—one procedural and one substantive—fail as a matter of law.
12           As to procedure, Plaintiff has argued that the Court cannot now grant relief under Rule
13   12(b)(6) because Tile already “filed an answer[.]” Dkt. 106 at 1:16–20 (citing Dkt. 59). This
14   argument ignores that Tile timely filed its motion. Regardless, the Court has discretion to convert
15   Tile’s motion to a Rule 12(c) motion now that the pleadings are closed. Aldabe v. Aldabe, 616 F.2d
16   1089, 1093 (9th Cir. 1980); see also Lotes Co. v. Hon Hai Precision Indus. Co., No. C-11-01036
17   JSW, 2011 WL 13152817, at *1 n.1 (N.D. Cal. July 14, 2011) (White, J.) (applying Aldabe).
18           As to substance, Plaintiff has argued that the concepts already found obvious by the PTAB
19   under Section4 103 can somehow remain inventive concepts under Section 101. See Dkt. 109,
20   § IV.B. This argument is contrary to common sense and ignores the reality that analyses under
21   Sections 101 and 103 “sometimes overlap” (Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
22   566 U.S. 66, 90 (2012))—as they do here. Perhaps more importantly, however, because Plaintiff
23   successfully argued in opposing Tile’s motion to dismiss that the Buddy Limitation was inventive
24   due to the patent examiner finding it patentable over the prior art (see Dkt. 38 at 14:1–14 & 14:26–
25   51; Dkt. 57 at 11:15–26), Plaintiff is judicially estopped from even raising this argument. E.g.,
26   Baughman v. Walt Disney World Co., 685 F.3d 1131, 1133–34 (9th Cir. 2012) (citations omitted).
27   3
       The PTAB referred to the claim limitation encompassing the alleged inventive concept as the
     Buddy Limitation. See Ex. A at 37.
28
     4
       All references to “Sections” are to Title 35 of the United States Code, unless otherwise noted.
     DEFENDANT TILE, INC.’S MOTION FOR                2
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 1   And regardless, given that the Amended Complaint’s only specific factual allegations regarding the
 2   alleged inventive concept are now contradicted by facts subject to judicial notice (the PTAB’s
 3   findings in its affirmed decision), the Amended Complaint is deficient as a matter of law.
 4   II.     STATEMENT OF ISSUES TO BE DECIDED
 5           Whether, on reconsideration of its prior order (see Dkt. 57) and in view of the PTAB’s
 6   finding that the Buddy Limitation is not patentable in view of the prior art (see Dkt. 103-2 at 37–49
 7   & 51), to dismiss Plaintiff’s Amended Complaint.
 8   III.    STATEMENT OF RELEVANT FACTS
 9           A.      Tile’s Motion to Dismiss and Plaintiff’s Opposition Thereto
10           On May 16, 2019, Plaintiff Cellwitch Inc. (“Plaintiff”) filed an Amended Complaint,
11   alleging that Tile infringed U.S. Patent No. 8,872,655 (“the ’655 Patent”). See Dkt. 32, ¶¶ 69–121.
12   Tile thereafter moved to dismiss because the ’655 Patent’s claims are invalid under 35 U.S.C. § 101.
13   Dkt. 36. Consistent with the Amended Complaint, which alleged that claim 1 of the ’655 Patent was
14   “exemplary” (Dkt. 32, ¶ 72), Tile argued that independent claim 1, along with similar independent
15   Claim 23, were representative of all claims. See Dkt. 36 at 1 n.1, 3:21–4:5 & n.3.
16           Plaintiff filed an opposition on June 13, 2019. See Dkt. 38. Plaintiff argued that, because
17   during prosecution the patent examiner found that the Buddy Limitation “imparted patentability
18   over the existing prior art,” the Buddy Limitation was an inventive concept for § 101 purposes:
19           . . . The “innovative feature” described in the last paragraph above relates to the
            claimed buddy and group find features, which Tile concedes the Examiner found to
20          distinguish the ’655 Patent over the prior art. See ECF No. 31-2 at 2. Specifically, the
            Examiner confirmed that “patentability resides in ‘wherein at least one buddy wireless
21
            communication terminal of the plurality of wireless communication terminals is further
22          configured to monitor the proximity of at least one wireless device of the plurality of
            wireless devices associated with one of the other wireless communication terminals and
23          to generate an alert when the proximity of at least one of the wireless devices associated
            with one of the other wireless communication terminals from the buddy wireless
24          communication terminal meets or exceeds a proximity threshold to alert the user of the
            buddy wireless communication terminal to the met or exceeded proximity threshold’, in
25
            combination with the other limitations of the claim.” ECF No. 32 ¶ 38. Thus, there is
26          confirmation from . . . the United States Patent Office that the claimed combination of
            elements of the ’655 Patent “involve more than performance of ‘well-understood,
27          routine, [and] conventional activities previously known to the industry.’” . . . .
28   Id. at 14:1–14 (emphasis added and citations omitted).

     DEFENDANT TILE, INC.’S MOTION FOR                 3
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           Here, as explained in the Amended Complaint and above, there are factual allegations
 1
           demonstrating that the claims of the ’655 Patent are directed to substantially more than
 2         a patent upon an ineligible concept itself. Indeed, the facts available to the Court show
           that the combination of elements claimed were not conventional or routine in the
 3         industry at the time. See, e.g., ECF No. 32 ¶ 17-18. For example, . . . the Examiner
           expressly found during prosecution that the claimed combination imparted patentability
 4         over the existing prior art. ECF No. 32 ¶ 38. . . . These facts, which must be taken as
           true, directly contradict the unsupported attorney argument presented by Tile in its
 5
           motion as to what was purportedly conventional and routine. . . .
 6   Id. at 14:26–15:11 (emphasis added and citations omitted). Plaintiff also argued that an InfoWorld
 7   publication had described the Buddy Limitation as an “innovative feature[.]”See id. at 13:11–14:3.
 8   Plaintiff did not dispute that Claims 1 and 23 were representative. See generally Dkt. 38.
 9
            B.      The Court’s November 21, 2019 Order Denying Tile’s Motion to Dismiss
10          The Court issued an order on November 21, 2019 denying Tile’s motion without prejudice.
11   Dkt. 57. Applying the two-step Mayo-Alice analysis, the Court first found that the claims of the ’655
12   Patent are directed to an abstract idea. Id. at 4:21–9:22. In doing so, the Court treated claim 1 “as
13   representative” (id. at 6:16–19), consistent with the fact that Plaintiff both “treat[ed] claim one as
14   ‘exemplary’ in its complaint[]” (id. at 6:16–19 n.1 (citing Dkt. 32, ¶ 72)) and did not rebut Tile’s
15   argument that Claims 1 and 23 are representative of all claims.
16          Applying the second step, however, the Court found that “Plaintiff ha[d] adequately alleged
17   that it ordered the components recited in claim one in a non-conventional manner[]” (id. at 11:25–
18   27 (citation omitted)) based on the Buddy Limitation (emphasized below):
19          . . . Plaintiff alleges, “[u]pon information and belief, at the time of the ’655 Patent, there
           existed no solution that used a network of personal wireless communication terminals
20
           to monitor and notify a particular user to when an item was no longer within a set range
21         of the user.” (Am. Compl. ¶ 30.) To support this allegation, Plaintiff also alleges that
           the examiner found that patentability resided in the fourth clause of claim one. (Id. ¶ 38.)
22         Plaintiff later recites that claim in its complaint. (Id. ¶ 26, citing ’655 Patent at 15:4-35.)

23       The Court finds these allegations create enough of a factual dispute to defeat a Rule
         12(b)(6) motion. Plaintiff has adequately alleged that it ordered the components recited
24       in claim one in a non-conventional manner. . . . For example, Plaintiff alleges that
         claimed invention represents an improvement over the prior art because it offered a
25       solution “that used a network of personal wireless communication terminals to monitor
         and notify a particular user to when an item was no longer within a set range of the
26
         user.” (Am. Compl. ¶ 30.) The allegations in the complaint indicate that Plaintiff’s
27       patent claimed a process that “address[ed] the moment of loss itself,” and this process
         was not well-known, routine, conventional at the time of issuance of the ’655 Patent.
28       (See id. at ¶ 32.) At this procedural posture, the Court must accept these allegations as
         true and construe the facts alleged in favor of the non-moving party. . . .
     DEFENDANT TILE, INC.’S MOTION FOR              4
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 1   Id. at 11:18–12:7 (citations omitted and emphasis added). The Court relied upon Plaintiff’s argument
 2   that—because the patent examiner found that the Buddy Limitation imparted patentability over the
 3   prior art—the Amended Complaint contained non-conclusory factual allegations that the asserted
 4   claims were directed to an inventive concept. See id. at 11:18–24. The Court noted that it “must
 5   accept [Plaintiff’s] allegations as true” and construe the facts alleged in its favor. Id. at 12:5–7 (citing
 6   Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317–18 (Fed. Cir. 2019)).
 7           C.      The Patent Trial and Appeal Board’s Final Written Decision and the Federal
                     Circuit’s Affirmance Thereof
 8
             Tile thereafter filed with the PTAB a petition for inter partes review of the ’655 Patent. Dkt.
 9
     61 at 1:24–27. The PTAB issued a Final Written Decision on May 13, 2021 (Dkt. 103-2 at 1) finding
10
     that claims 1–3, 10–15, 22, and 23 of the ’655 Patent were unpatentable (id. at 86).5 The PTAB
11
     specifically found that the Buddy Limitation was obvious in view of the prior art. Id. at 37–49.
12
     Specifically, the PTAB recognized that the Buddy Limitation was nothing more than a simple
13
     arrangement of “‘old elements with each performing the same function it had been known to perform
14
     and yields no more than one would expect from such an arrangement[.]” Id. at 51 (quoting KSR Int’l
15
     Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007) (internal quotation marks omitted)). As part of its
16
     analysis, the PTAB also found that the InfoWorld publication did not “disclose[] or describe[]” the
17
     Buddy Limitation. Dkt. 103-2 at 69; see also id. at 56–66.
18
             The Federal Circuit thereafter affirmed the PTAB and issued its mandate (Dkt. 103-3 & -4).
19
     IV.     LEGAL STANDARDS
20
             A.      Issue Preclusion
21
             Issue preclusion “bars ‘successive litigation of an issue of fact or law actually litigated and
22
     resolved in a valid court determination essential to the prior judgment,’ even if the issue recurs in
23
     the context of a different claim.” Taylor v. Sturgell, 553 U.S. 880, 892 (2008) (quoting New
24
     Hampshire v. Maine, 532 U.S. 742, 748–49 (2001)). It “applies if ‘(1) the issue at stake was identical
25
     in both proceedings; (2) the issue was actually litigated in decided in the prior proceedings; (3) there
26

27
     5
       The PTAB also concluded that Tile had not “demonstrated . . . that claims 4–9 and 16–21 are
28   unpatentable[.]” Id. at 86. Those claims remain at issue but are patent ineligible for the reasons set
     forth in this Motion and given the unchallenged assertion that claim 1 is representative for § 101.
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 1   was a full and fair opportunity to litigate the issue; and (4) the issue was necessary to decide on the
 2   merits.’” Paatalo v. JPMorgan Chase Bank, N.A., 684 F. App’x 601, 602 (9th Cir. 2017) (quoting
 3   Oyeniran v. Holder, 672 F.3d 800, 806 (9th Cir. 2012)). Resolving allegations on the pleadings is
 4   proper when they depend on an issue of fact already resolved against the plaintiff. See, e.g., Paatalo,
 5   684 F. App’x at 602–03; Sussman v. Provident Life & Acc. Ins., 326 F. App’x 421, 422 (9th Cir.
 6   2009); Ghalehtak v. Fay Servicing, LLC, 304 F. Supp. 3d 877, 887–88 (N.D. Cal. 2018).
 7           B.      Pleading Standards
 8           “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted
 9   as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
10   (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Such “allegations of
11   underlying facts” must (1) “give fair notice and [] enable the opposing party to defend itself
12   effectively” and (2) “plausibly suggest an entitlement to relief such that it is not unfair to require the
13   opposing party to be subjected to the expense of discovery and continued litigation.” Starr v. Baca,
14   652 F.3d 1202, 1216 (9th Cir. 2011). “‘The court need not . . . accept as true allegations that
15   contradict matters properly subject to judicial notice’” or “‘are merely conclusory, unwarranted
16   deductions of fact, or unreasonable inferences.’” In re Gilead Sciences Securities Litig., 536 F.3d
17   1049, 1055 (9th Cir. 2008) (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.
18   2001), amended on other grounds, 275 F.3d 1187 (9th Cir. 2001)). A Rule 12(b)(6) motion is
19   “‘functionally identical’” to a motion for judgment on the pleadings under Rule 12(c). Cafasso, U.S.
20   ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 n.4 (9th Cir. 2011) (quoting Dworkin
21   v. Hustler Magazine Inc., 867 F.2d 1188, 1192 (9th Cir. 1989)) (additional citations omitted).
22           C.      Judicial Estoppel
23           “Judicial estoppel prevents a party from changing its ‘position in a legal proceeding[]’”
24   (Baughman, 685 F.3d at 1133 (emphasis omitted) (quoting New Hampshire, 532 U.S. at 749)), and
25   the doctrine applies to both legal and factual assertions (id. (citing Wagner v. Prof’l Eng’rs in Cal.
26   Gov’t, 354 F.3d 1036, 1044 (9th Cir. 2004)). In applying judicial estoppel, courts consider three
27   factors: whether a party (1) is seeking to assert a position is “clearly inconsistent” with the earlier
28   position, (2) “succeed[ed] in persuading [the] court to accept its earlier position,” and (3) will

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 1   “derive an unfair advantage or impose an unfair detriment on the opposing party[.]” Id. (internal
 2   quotation marks omitted) (quoting New Hampshire, 532 U.S. at 750–51).
 3   V.     ARGUMENT
 4          A.      Issue Preclusion Bars Plaintiff from Attempting to Relitigate the Non-
                    Inventiveness of the Buddy Limitation
 5
            The PTAB found that the Buddy Limitation was obvious in view of the prior art, and issue
 6
     preclusion bars Plaintiff from attempting to relitigate the Buddy Limitation’s non-inventiveness.
 7
     Further, because Plaintiff successfully argued that the patent examiner’s erroneous finding that the
 8
     Buddy Limitation was patentable over the prior art demonstrated the existence of an inventive
 9
     concept, Plaintiff is judicially estopped from taking the contrary position that the PTAB’s correct
10
     finding overruling the patent examiner conclusively established the absence of an inventive concept.
11
                    1.      Issue Preclusion Applies
12
            The only outstanding alleged factual issue underlying Tile’s motion to dismiss—whether the
13
     Buddy Limitation was an inventive concept (see Dkt. 57 at 11:18–12:7)—is identical to the issue
14
     that the PTAB already decided against Plaintiff. In an affirmed, final decision, the PTAB found that
15
     the Buddy Limitation was obvious in view of the prior art. Dkt. 103-2 at 37–49. The PTAB
16
     specifically found that the Buddy Limitation was taught by the prior art (including “generating an
17
     alert when a proximity threshold . . . is met or exceeded” (id. at 42; see also id. at 39–49)) and that
18
     it was simply an “‘arrange[ment of] old elements with each performing the same function it had
19
     been known to perform and yield[ed] no more than one would expect from such an arrangement[]’”
20
     (id. at 51 (quoting KSR Int’l Co., 550 U.S. at 406); see also id. at 49–55). The Buddy Limitation is
21
     therefore not inventive. Mayo, 566 U.S. at 81 (recognizing that a concept was inventive because it
22
     was not “in context obvious, already in use, or purely conventional” (emphasis added) (discussing
23
     Diamond v. Diehr, 450 U.S. 175, 187 (1981))); see also id. at 79 (“Purely ‘conventional or obvious’
24
     ‘[pre]-solution activity’ is normally not sufficient to transform an unpatentable law of nature into a
25
     patent-eligible application of such a law.” (emphasis added) (quoting Parker v. Flook, 437 U.S. 584,
26
     590 (1978)) (additional citation omitted)); Sakraida v. Ag Pro, Inc., 425 U.S. 273, 279 (1976)
27
     (noting that by codifying a non-obviousness requirement in Section 103, Congress was
28
     incorporating into statute the Constitution’s requirement that there “be some ‘invention’ to be
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 1   entitled to patent protection” (quoting Dann v. Johnston, 425 U.S. 219, 225 (1976)).
 2          The PTAB findings meet all of the requirements for issue preclusion. See, e.g., Paatalo, 684
 3   F. App’x at 602 (quoting Oyeniran, 672 F.3d at 806). Because the PTAB explicitly found that the
 4   Buddy Limitation was an arrangement of known elements performing known functions to
 5   accomplish known results and was obvious in view of the prior art (Dkt. 103-2 at 37–49 & 51), and
 6   because the Federal Circuit affirmed (Dkt. 103-3) and has issued its mandate (Dkt. 103-4), this issue
 7   was actually decided and the Plaintiff has had a full opportunity to litigate it. E.g., Papst Licensing
 8   GMBH & Co. KG v. Samsung Elecs. Am., Inc., 924 F.3d 1243, 1251–52 (Fed. Cir. 2019) (applying
 9   issue preclusion to PTAB final written decisions in inter partes review proceedings). Finally, the
10   PTAB’s finding was necessary. To find that the claims were obvious, the PTAB found that the prior
11   art disclosed “every element” of those claims (Wireless Protocol Innovations, Inc. v. TCT Mobile,
12   Inc., 771 F. App’x 1012, 1013 (Fed. Cir. 2019)) and that the claim was “obvious[] . . . as a whole”
13   (Gen. Elec. Co. v. Raytheon Techs. Corp., 983 F.3d 1334, 1351–52 (Fed. Cir. 2020)).
14          In its opposition to Tile’s motion to maintain the stay, Plaintiff asserted that the inventive
15   concept inquiry is a different issue from obviousness (see Dkt. 109, § IV.B), but this argument is
16   foreclosed by the Supreme Court’s Mayo decision. See 566 U.S. at 79 & 81. Regardless, the Ninth
17   Circuit often considers four factors in deciding whether “issues are identical” for issue preclusion—
18   all of which are met for § 101 in this case: “(1) substantial overlap of evidence or arguments,
19   (2) application of the same rule of law, (3) overlap in pretrial preparation, and (4) relatedness of the
20   claims.” Wenke v. Forest Labs., Inc., 796 F. App’x 383, 384 (9th Cir. 2020) (citations omitted).
21   Further, the identical-issue assessment varies depending on the specific facts. Sec. & Exch. Comm’n
22   v. Stein, 906 F.3d 823, 829 (9th Cir. 2018) (quoting Howard v. City of Coos Bay, 871 F.3d 1032,
23   1041 (9th Cir. 2017) and citing Friedenthal & Miller, Civil Procedure § 14.10 (5th ed. 2015)).
24          To find the ’655 Patent’s claims (and the Buddy Limitation) obvious in view of the prior art,
25   the PTAB made factual determinations including “‘the scope and content of the prior art, differences
26   between the prior art and the claims at issue, the level of ordinary skill in the pertinent art, [] any
27   objective indicia of non-obviousness[,]’” and “whether the relevant skilled artisan had a motivation
28   to combine pieces of prior art in the way eventually claimed . . . .” Intercontinental Great Brands

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 1   LLC v. Kellogg N. Am. Co., 869 F.3d 1336, 1343 (Fed. Cir. 2017) (quoting Graham v. John Deere
 2   Co. of Kan. City, 383 U.S. 1, 17–18 (1966)). Given that these factual inquiries all focused on the
 3   state of the art and the knowledge and motivations of those skilled in the art, which are all relevant
 4   to whether a concept is “inventive”—particularly in light of Plaintiff’s inventiveness assertions in
 5   this case—the first factor (substantial overlap of evidence or arguments) is satisfied here. The third
 6   factor (overlap in pretrial preparation) is satisfied because “[t]he pretrial preparation and discovery
 7   from the [PTAB] proceeding should reasonably have included evidence” (Wenke, 796 F. App’x at
 8   385) of whether the Buddy Limitation was inventive, in view of the requisite factual inquires noted
 9   above. The fourth factor (relatedness of the claims) is similarly satisfied because “the claims in the
10   two proceedings . . . share factual predicates[]” (id.), including the factual inquiries noted above and
11   the fact that the PTAB was analyzing the same limitation of the same claims of the same patent that
12   is at issue here.
13           That leaves only the second factor (application of the same rule of law). The Supreme Court
14   recognized in Mayo that an obvious concept is not an inventive concept. See 566 U.S. at 79 & 81.
15   Even if “different rules of law” are at issue, issue preclusion still applies so long as “the underlying
16   issues are the same and the conclusions from the [first action] undercut [a party’s] theories in the
17   [second] action.” Wenke, 796 F. App’x at 384. The PTAB’s finding that the Buddy Limitation is an
18   obvious “‘arrange[ment of] old elements with each performing the same function it had been known
19   to perform and yield[ed] no more than one would expect from such an arrangement[]’” (Dkt. 103-2
20   at 51; see also id. at 37–55) does nothing but undercut Plaintiff’s allegations that the Buddy
21   Limitation is inventive—allegations that were based on alleged distinctions over prior art.
22                   2.     Judicial Estoppel Bars Plaintiff from Arguing that the Obviousness and Non-
                            Inventiveness of the Buddy Limitation Are Different Issues
23
             Moreover, judicial estoppel bars Plaintiff from now arguing that the Buddy Limitation’s
24
     obviousness and non-inventiveness are different issues. Plaintiff argued that these issues were the
25
     same when it first opposed Tile’s motion to dismiss. See Dkt. 38 at 14:1–14, 14:26–15:11. For
26
     example, Plaintiff argued that the Buddy Limitation was inventive because the patent examiner had
27
     “expressly found during prosecution that the claimed combination imparted patentability over the
28
     existing prior art” (id. at 15:4–5)—i.e., that the prior art did not anticipate or render obvious the
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 1   Buddy Limitation. According to Plaintiff, this finding constituted confirmation “from . . . the United
 2   States Patent Office that the [Buddy Limitation] ‘involve[s] more than the performance of ‘well-
 3   understood, routine, [and] conventional activities previously known to the industry[]’” (id. at 14:11–
 4   14 (internal quotation marks and citation omitted))—i.e., that the patent examiner’s finding that the
 5   prior art did not anticipate or render obvious the Buddy Limitation meant that the Buddy Limitation
 6   was not well-understood, routine, or conventional. Plaintiff’s current position is clearly inconsistent
 7   with the position it took when it originally opposed Tile’s motion to dismiss.
 8          Not only did Plaintiff advance this argument, but it succeeded in persuading the Court to
 9   adopt it. See Dkt. 57 at 11:18–12:7. Specifically, the Court noted that Plaintiff had “allege[d] that
10   the examiner found that patentability resided in the [Buddy Limitation]” and that “these allegations
11   create[d] enough of a factual dispute to defeat a Rule 12(b)(6) motion.” Id. at 11:21–26.
12          Finally, the fact that Plaintiff is talking out of both sides of its mouth on this issue will both
13   give it an unfair advantage and impose an unfair detriment on Tile. Plaintiff succeeded in originally
14   opposing Tile’s motion only by alleging that the patent examiner’s incorrect finding that the Buddy
15   Limitation was not obvious demonstrated the existence of an inventive concept. Plaintiff’s initial
16   success forced Defendant to expend significant time and resources before the PTAB, demonstrating
17   that the patent examiner’s finding (among others) was incorrect. To allow Plaintiff to now oppose
18   the present motion by arguing that obviousness is irrelevant to the inventive concept inquiry would
19   enable precisely the “improper use of judicial machinery[]” that judicial estoppel is intended to
20   prevent. New Hampshire, 532 U.S. at 750 (internal quotation marks and citation omitted).
21          B.      Regardless of Whether Issue Preclusion Applies, the Amended Complaint’s
                    Factual Allegations Regarding a Purported Inventive Concept Are Implausible
22                  and Conclusory
23          Regardless of whether issue preclusion applies, the PTAB’s finding renders Plaintiff’s
24   allegations about the Buddy Limitation conclusory and implausible under Rule 12, and the
25   complaint should be dismissed for this additional, independent reason. See, e.g., Lu v. Stanford
26   Univ., No. 17-cv-07034-VC, 2018 WL 11268585 (N.D. Cal. Mar. 26, 2018) (finding that a prior
27   judgment rendered factual assertions implausible in granting a motion to dismiss); Skillz Platform
28   Inc. v. AviaGames Inc., No. 21-cv-02436-BLF, 2022 WL 783338, at *18 (N.D. Cal. Mar. 14, 2022)

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 1   (“[The plaintiff’s] allegations that the use of GPS or LPS was unconventional, innovative, or an
 2   improvement are implausible in light of the intrinsic record, which indicates that these technologies
 3   were conventional and that the [patent] claims recite using them for generic location-determining
 4   functions.” (citation omitted)). In its November 21, 2019 order, the Court recognized that Plaintiff
 5   alleged that the Buddy Limitation was inventive because “the examiner found that patentability
 6   resided in the fourth clause of claim one.” Dkt. 57 at 11:21–24 (citing Dkt. 32, ¶ 38). The PTAB has
 7   now found that the Buddy Limitation (the fourth clause of claim one) was obvious and not a source
 8   of patentability. Ex. A at 37–49. “‘The court need not . . . accept as true allegations that contradict
 9   matters properly subject to judicial notice’” or “‘are merely conclusory, unwarranted deductions of
10   fact, or unreasonable inferences.’” In re Gilead, 536 F.3d at 1055 (quoting Sprewell, 266 F.3d at
11   988). The PTAB’s finding that the Buddy Limitation was an obvious “‘arrange[ment of] old
12   elements with each performing the same function it had been known to perform and yield[ing] no
13   more than one would expect from such an arrangement[]’” contradicts Plaintiff’s factual allegation
14   that the Buddy Limitation was a source of patentability, and thus somehow inventive. Dkt. 103-2 at
15   51. Because the PTAB’s findings are subject to judicial notice (see infra § V.C), the Court need
16   not—and should not—accept Plaintiff’s contradictory factual allegations as true.
17             The present case is analogous to the Federal Circuit’s recent decision in Dropbox, Inc. v.
18   Synchronoss Techs., Inc., 815 F. App’x 529 (Fed. Cir. 2020). In Dropbox, the plaintiff argued that
19   the combination of “data tagging and remote synchronization steps” was inventive because the
20   asserted patent’s “data structure allows data to be formatted in a way that makes data transfer reliable
21   and efficient.” Id. at 537 (internal quotation marks and citation omitted). The patent at issue,
22   however, described both steps as “known in the art” (Gaustad Decl., Ex. A6 at 3:24–29 & 34–37,
23   6:60–61), therefore teaching that they were “routine and conventional[]” (Dropbox, Inc., 815 F.
24   App’x at 537). The patent similarly taught that the data structure could be created by “methods
25   known in the art[,]” which “contradict[ed] [the plaintiff’s] claims that the patent t[aught] an
26   inventive data structure[.]” Id. (citing Gaustad Decl., Ex. A at 3:24–29 & 34–37, 6:60–61). The
27   Federal Circuit concluded that the remaining unsupported factual allegations could not survive a
28
     6
         Exhibit A is a copy of the patent analyzed in the cited section of Dropbox, Inc.
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 1   motion to dismiss. Id. at 538. Here, the PTAB has found (and the Federal Circuit has affirmed) that
 2   the Buddy Limitation was an arrangement of elements known in the art producing expected results.
 3   Dkt. 103-2 at 37–49 & 51. Accordingly, Plaintiff’s factual allegations regarding the purported
 4   inventiveness of the Buddy Limitation cannot survive Tile’s motion to dismiss. See, e.g., Lu, 2018
 5   WL 11268585; Skillz Platform Inc., 2022 WL 783338, at *18.
 6          Absent Plaintiff’s implausible and conclusory factual allegations regarding the Buddy
 7   Limitation’s alleged inventiveness, all that remains in the Amended Complaint are “[t]hreadbare
 8   recitals of the elements of a cause of action[] supported by mere conclusory statements, [which] do
 9   not suffice.” Ashcroft, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555); see also Dropbox, Inc.,
10   815 F. App’x at 538 (“[O]nly ‘plausible and specific factual allegations that aspects of the claims
11   are inventive are sufficient.’” (quoting Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317 (Fed.
12   Cir. 2019))); Skillz Platform, 2022 WL 783338, at *18 (finding that the plaintiff’s allegations
13   regarding Alice step two were “conclusory or implausible” “in light of the intrinsic record”). For
14   this independent reason, Tile respectfully requests that the Court grant Tile’s requested relief.
15          C.      The Above Arguments Also Apply to Plaintiff’s Factual Allegations Regarding
                    the InfoWorld Publication, But the InfoWorld Publication Did Not Even
16                  Disclose or Describe the Buddy Limitation
17          While not apparently germane to the Court’s November 21, 2019 Order and therefore
18   already not a barrier to a finding of ineligibility on reconsideration, Plaintiff cannot avoid judgment
19   by shifting to the Amended Complaint’s allegations regarding the InfoWorld publication. See Dkt.
20   38 at 14:28–15:4 (citing Dkt. 32, ¶¶ 17 & 18). For the same reasons discussed above, given the
21   PTAB’s finding that the Buddy Limitation was obvious (and thus not inventive or “innovative”),
22   (1) issue preclusion bars Plaintiff from attempting to relitigate this issue, and (2) factual allegations
23   based on the InfoWorld article are implausible and conclusory in view of the PTAB’s finding.
24          The PTAB also found that the InfoWorld publication did not even “disclose[] or describe[]”
25   the Buddy Limitation. Dkt. 103-2 at 69; id. at 56–66 (finding that the Ty application—the product
26   described in the InfoWorld publication—did not include the Buddy Limitation). Plaintiff’s expert
27   admitted to the PTAB that the cited “‘excerpt from the InfoWorld article isn’t related to the buddy
28   feature’ and . . . did not ‘identify any actual praise about specifically the buddy feature’ in his

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 1   testimony.” Id. at 70 (citation omitted). Plaintiff did not appeal these findings. Thus, InfoWorld has
 2   been finally adjudged to be wholly divorced from the asserted patent, and “‘any allegation about
 3   inventiveness, wholly divorced from the claims or the specification’ does not defeat a motion to
 4   dismiss; only ‘plausible and specific factual allegations that aspects of the claims are inventive are
 5   sufficient.’” Dropbox, Inc., 815 F. App’x at 538 (quoting Cellspin Soft, Inc., 927 F.3d at 1317). And
 6   issue preclusion bars Plaintiff from challenging this additional finding: (1) the same issue was at
 7   stake in both proceedings (whether the InfoWorld publication disclosed or described the Buddy
 8   Limitation), (2) the issue was actually litigated, (3) Cellwitch had a full and fair opportunity to
 9   litigate the issue, and (4) the issue was necessary to the PTAB’s decision, given that Cellwitch
10   argued that the InfoWorld publication was evidence of secondary considerations. See id. at 55–72.
11           D.      The PTAB’s Final Written Decision and the Federal Circuit’s Judgment and
                     Mandate Are Subject to Judicial Notice Can Be Considered
12
             In its motion for leave, Tile previously requested that the Court take judicial notice of the
13
     PTAB’s Final Written Decision and the Federal Circuit’s judgment and mandate. Dkt. 103 at 1:8–
14
     17 & § V.B. Plaintiff did not oppose that request. See Dkt. 106. In an abundance of caution, Tile
15
     reraises the request here. Specifically, the Court can consider the PTAB’s Final Written Decision
16
     and the Federal Circuit’s Judgment and Mandate in reconsidering its prior Rule 12 decision. “Public
17
     records, including judgments and other publicly filed documents, are proper subjects of judicial
18
     notice.” Anderson v. Intel Corp. Inv. Policy Comm., __ F. Supp. 3d __, 2022 WL 74002, at *6 (N.D.
19
     Cal. Jan. 8, 2022) (citing United States v. Black, 482 F.3d 1035, 1041 (9th Cir. 2007)); see also Fed.
20
     R. Evid. 201(b). Further, “‘it is proper . . . to take judicial notice of matters of public record outside
21
     the pleadings and consider them for purposes of [a] motion to dismiss.’” Patera v. Citibank, N.A.,
22
     698 F. App’x 468, 469 (9th Cir. 2017) (quoting Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649
23
     (9th Cir. 1988)). Indeed, the PTAB’s Final Written Decision is part of the ’655 Patent’s prosecution
24
     history (see Dkt. 103-5), which can be considered at the pleadings stage to resolve issues of patent
25
     eligibility under Section 101. E.g., Cleveland Clinic Found. v. True Health Diagnostics LLC, 760
26
     F. App’x 1013, 1018 (Fed. Cir. 2019) (citations omitted).
27
             E.      The Court Has Authority to Reconsider the Rule 12 Motion
28
          Because Tile’s motion was timely when it was filed, the Court can reconsider and grant
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 1   Tile’s motion to dismiss under Rule 12(b)(6). The Federal Rules of Civil Procedure allowed Tile to
 2   file “[a] motion asserting” its 12(b)(6) defense “before pleading if a responsive pleading is allowed”
 3   (Fed. R. Civ. P. 12(b)), which is precisely what Tile did (compare Dkt. 36, with Dkt. 59).
 4          Plaintiff argued in its opposition to Tile’s motion for leave, however, that the proper
 5   procedural mechanism for resolving the present dispute is via a motion for judgment on the
 6   pleadings pursuant to Rule 12(c). Dkt. 106 at 2:16–20. Although Tile’s original motion to dismiss
 7   was timely, the Court has discretion to convert Tile’s 12(b)(6) motion to a 12(c) motion now that
 8   the pleadings are closed. Aldabe, 616 F.2d at 1093; see also Lotes Co., 2011 WL 13152817, at *1
 9   n.1 (applying Aldabe). If the Court is not inclined to proceed under Rule 12(b)(6), Tile respectfully
10   requests that the Court exercise that discretion here. “There is no reason to waste the resources of
11   the parties and the Court by dismissing the instant motion on procedural grounds, then waiting for
12   Defendant to refile an identical motion with a different title.” Jaeger v. Howmedica Osteonics Corp.,
13   No. 15-cv-00164-HSG, 2016 WL 520985, at *6 (N.D. Cal. Feb. 10, 2016). “The risk of prejudice
14   to Plaintiff[] is further decreased” given that Tile’s motion to dismiss was filed under Rule 12(b)(6),
15   and there is no risk that any trial will be delayed because no trial has been scheduled. Id.
16          F.      The Amended Complaint Should Be Dismissed with Prejudice
17          Consistent with Plaintiff’s own assertion that Rule 12(c) applies because the pleadings are
18   closed, the Amended Complaint should be dismissed with prejudice. Plaintiff is not entitled to any
19   further amendments and already amended its complaint once before (see Dkt. 36), in response to a
20   motion by Tile to dismiss based on Section 101 (see Dkt. 30). The Amended Complaint does not
21   allege that any inventive concepts are found in the dependent claims. See generally Dkt. 32. Further,
22   Plaintiff alleged in the Amended Complaint that claim 1 was “exemplary” (see Dkt. 32, ¶¶ 25, 72,
23   74, 76, 78; see also Dkt. 57 6:16–19 n.1 (citing Dkt. 32, ¶ 72)) and did not challenge Tile’s assertion
24   and the Court’s treatment of claim 1 as representative of all claims for purposes of § 101 (see
25   generally Dkt. 38). Because the PTAB found that claim 1 was obvious in view of the prior art, it
26   would be futile for Plaintiff to allege that any other concept found in claim 1 was inventive. “[T]here
27   is no need to prolong the litigation by permitting further amendment” when “any amendment would
28   be futile[.]” Chaset v. Fleer/Skybox Int’l, LP, 300 F.3d 1083, 1088 (9th Cir. 2002) (citation omitted).

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 1          Additionally, Plaintiff cannot allege that any claim other than claim 1 provides an inventive
 2   concept because of its allegation that claim 1 was “exemplary.” Any allegation that a different claim
 3   provides   an   inventive    concept   would    “contradict    the   allegations   in   its   prior   []
 4   complaint[][,]”rendering any further amendment “futile.” IV Solutions, Inc. v. Empire Healthchoice
 5   Assurance, Inc., No. 20-56132, 2021 WL 5492974 (9th Cir. Nov. 23, 2021) (mem.) (quoting Reddy
 6   v. Litton Indus., Inc., 912 F.2d 291, 296–97 (9th Cir. 1990)). And even if Plaintiff could make some
 7   non-contradictory allegation based on the dependent claims, the Court may “determine which claim
 8   or claims are representative if ‘all the claims are substantially similar and linked to the
 9   same . . . idea.’” Orcinus Holdings, LLC v. Synchronoss Techs., Inc., 379 F. Supp. 3d 857, 872 (N.D.
10   Cal. 2019) (quoting Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776
11   F.3d 1343, 1348 (Fed. Cir. 2014)). The Court already treated claim 1 as representative in its prior
12   order (see Dkt. 57 at 6:16–19 & n.1), and Plaintiff did not move for reconsideration of that decision.
13   Given that Tile filed its own motion for leave to move for reconsideration nearly seven weeks ago
14   (see Dkt. 103), and that two weeks have passed since the Court granted Tile’s motion (see Dkt. 111),
15   Plaintiff cannot seek reconsideration of the Court’s prior order finding claim 1 representative
16   because it cannot establish “reasonable diligence.” See Civil L.R. 7-9(b).
17          Finally, even if Plaintiff could somehow overcome these barriers, the only claims that
18   survived the PTAB’s review merely describe categories of the collected data of the invalid
19   independent claims and non-specific uses of the collected data. See Dkt. 32-1 (’655 Patent), cls. 4–
20   9 & 16–21. None of these claims can provide an inventive concept as a matter of law. See, e.g.,
21   Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1331, 1341 (Fed. Cir. 2017)
22   (analyzing claims directed to “collecting, displaying, and manipulating . . . data”); X One, Inc. v.
23   Uber Techs., Inc., 239 F. Supp. 3d 1174, 1195–96 (N.D. Cal. 2017) (analyzing “[f]unctions such as
24   requesting, receiving, and storing information over a network” to “perform a service”).
25   VI.    CONCLUSION
26          Tile respectfully requests that the Court reconsider its November 21, 2019 Order (Dkt. 57)
27   and grant the relief requested in Tile’s motion to dismiss Plaintiff’s Amended Complaint, either
28   under Rule 12(b)(6) or 12(c), and dismiss Plaintiff’s Amended Complaint with prejudice.

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     RECONSIDERATION                                                         CASE NO. 4:19-CV-01315-JSW
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